   Case 2:98-cr-00006-AAA-JEG Document 103 Filed 08/30/05 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGI A
                                BRUNSWICK DIVISIO N



UNITED STATES OF AMERIC A

                                                        CASE NO . : CR298-6
                 V.

TELLY RILEY



                                        ORDE R


            A Preliminary Revocation Hearing was scheduled for August 30, 2005, for a
determination as to whether Defendant violated the terms of his supervised release as

alleged . Defendant was given prior notice of the scheduled hearing and its purpose and

of the alleged violation . He appeared at said hearing, with counsel, and stipulated that

there is probable cause to believe that he violated the terms of his supervised release as
alleged .

       Accordingly, it is hereby ORDERED that Defendant be held for a Revocatio n

Hearing .
       SO ORDERED , this        3 U day of August, 2005 .



                                             MES E . GRAHAM
                                             ITED STATES MAGISTRATE JUDGE
      Case 2:98-cr-00006-AAA-JEG Document 103 Filed 08/30/05 Page 2 of 2

                         United States District Court
                                   Southern District of Georgia
     UNITED STATES OF AMERIC A

                        vs.                              CASE NO . CR298- 6
     TELLY RILEY



The undersigned, a regularly appointed and qualified deputy in the office of this Clerk of this
District, while conducting the business of the Court for said Division does hereby certify the
following :
         1 Pursuant to instructions from the court, and in the performance of my official
                duties, I personally placed in the U .S . Mail a sealed envelope bearing the lawful
                frank of the Court, and properly addressed to each of the persons, parties or
                attorneys listed below ;
                and
          2 . That the aforementioned envelope(s) contain a copy of the documents known as
                   ORDER                                      dated 8/30/05        , which is
                  part of the official records of this case .


Date of Mailing :     8/30/05
Date of Certificate : 8/30/0 5




NAME :
1.   TELLY RILEY McIntosh County Jail Darien, Ga .
2.   Dale Jenkin s
3.   Brian McEvoy
4.
5.
6.
7.


     Cert/Copy                                                Cert/Copy
      ❑ ® District Judg e                                      ❑ ❑ Dept. of Justice
      ❑   ®     Magistrate Judge                               ❑ ❑      Dept. of Public Safety
     ❑    ❑     Minutes                                        ❑ ❑      Voter Registra r
     ❑    ®     U .S . Probation                               ❑ ❑      U .S . Court of Appeals
     ❑     l    U .S . Marshal                                 ❑ ❑      Nicole/Debbi e
     ❑    ❑     U .S . Attorney                                ❑ ❑      Ray Stalve y
     ❑    ❑     JAG Office                                     ❑ ❑      Cindy Reynolds
